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                                 CERTIFICATE OF SERVICE

               I, Tori L. Remington, hereby certify that on February 21, 2024, I caused the

foregoing Certificate of No Objection Regarding the Fifth Monthly Staffing and Compensation

Report of Huron Consulting Services LLC for the Period from December 1, 2023, Through

December 31, 2023 (the “CNO”) to be served upon the parties set forth on the attached service list

in the manner indicated. I further certify that all ECF participants registered in these cases were

served electronically on February 21, 2024, with the CNO through the Court’s ECF system at their

respective email addresses registered with the Court.



                                                        /s/ Tori L. Remington
                                                        Tori L. Remington (DE No. 6901)
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